 O AO 245A (Rev. 12/03) Judgment of Acquittal


                               UNITED STATES DISTRICT COURT

                    EASTERN                         DISTRICT OF          TENNESSEE


          UNITED STATES OF AMERICA                                JUDGMENT OF
                                                                  ACQUITTAL
                              v.

          DWIGHT BRIGHT                                           Case Number: 3:06-CR-136-001




                    The defendant was found not guilty as to Counts One and Two of the

 Superseding Indictment. IT IS ORDERED that the Defendant is acquitted, discharged,

 and any bond exonerated.




   s/ Thomas W. Phillips
 Signature of Judge

  THOMAS W. PHILLIPS, United States District Judge
 Name and Title of Judge

            April 25, 2007
                      Date




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